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1    TRACY L. WILKISON
     Attorney for the United States,
2    Acting Under Authority Conferred by
     28 U.S.C. § 515
3    PATRICK R. FITZGERALD
     Assistant United States Attorney
4    Chief, National Security Division
     MELANIE SARTORIS (California Bar No. 217560)
5    Assistant United States Attorney
     Terrorism and Export Crimes Section
6         3403 Tenth Street
          Suite 200
7         Riverside, California 92501                      cc: PSA
          Telephone: (213) 894-5615
8         Facsimile: (213) 894-7631
          E-mail:    melanie.sartoris@usdoj.gov
9
10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11

12                           UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                No. CR 16-292-JGB-2

15             Plaintiff,                     ORDER

16                   v.

17   MARIYA CHERNYKH, et al.,
     -2) TATIANA FAROOK
18
               Defendants.
19

20
          For the reasons contained in the parties’ stipulation it is
21
     hereby ORDERED that the sentencing hearing for defendant TATIANA
22
     FAROOK is continued to February 10, 2020 at 2:00 p.m.
23
          IT IS SO ORDERED.
24

25

26   April 2, 2019
     DATE                                    HONORABLE JESUS G. BERNAL
27                                           UNITED STATES DISTRICT JUDGE

28
